               Case 2:10-cv-08888-CJB-JCW Document 66485 Filed 04/20/11 Page 1 of 3


                                          lN RE: OIL SPILL by "Deepwater Horizon"
                                               DIRECT FILING SHORT FORMl
                         Authorizod by Order of the Court, Clvil Action No. 10 md 2179 Rec. Doc. 982
                 (Copies of said Order having also been filed in Civil Actions No, 10-8888 and 10-2771)
  MDL 217E                                                                 SECTION: J                                             JUDGE




      By submftting thB documont, I am asserting a clalm In Complaint and Petltlon of Triton Asset Leasing GmbH, et
      al., No. 10-2771i adopt and incorporate the Master Answer lRec. Doc, 2441 to the Complaint and PeAAon of Triton
      Asset loasrng Gmbh, et al.,In No. 10-2771; and/or Intervene Into, join and otherwise adopt the Master Complaint
      [REc. Doc.879l for private sconomic losses ("Bl Bundle") filed in MDL No.2179 (10 md 2179); and/or Intervene
      into, Joln and otherwlsa adopt the Master Complalnt [Rec. Doc, 881] for post-explosion injurles ("83 Bundle")
      filed In MDL No. 2179 (10 md 2179).

      Lasl Ngme                                        I First Name                                    Middle Name/Maiden                        : Suffix
            CITAUVIN                                             DAVID

      Phono Number                                                                 I E-rrr"rr aoo-"t
        985 /594-6304                                                              I              k imc hauvin@ruar        iah iade shrinp . com
      Address                                                                          City/State/Zp
                                                                                           Chauvin. LA I0344
      INDIVIDUAL        clAllrl                  L                                     BUsrNEss      cr-ArM                      L
      Employer Name                                                                    gusin€ss Namo
                                                                                                 M/V MARIAH _J_ADE
      Job Title / Descdplion                                                           Type ol Busin€ss
                                                                                              COMMERCTAT 'T SHTNG
     Addrgss                                                                           Address
                                                                                           5248 Bayouside Drive
      City/Stale/Zip                                                                   City/State/Zp
                                                                                           tinauvtn. LA IU74+
     Lest 4 digits of your Social Security Number                                      Last 4 digits of your Tax lD Number
                                                                                                 20-457 6340
     Attomey Name                                                                      Firm Name
     Joseph L- !,14!112, .[L
                                                                                       citY/st'ate/zP Houna, LA 70361
     $f9Tu.ro" streec P. o, Box 2454
     Phona Number                                                                      E-MailAddress
                    985/876-0131                                                                           odavis I959@vahoo. com
     Clalm fil€d with   BP?          yES E                  NO E                       Claim Filed with GccF?: YES
                                                                                                                          EJ           NO El
     lf y€s, BP Claim No.:                                                             It yes, Claimant ldentlflcatlon No.:
                                                                                                                            l0 3 9 f 0 9

     Clalm Typo (Pleaso check allthal apply):
     tr      Damage or deslruclion to real or peFonal prop€rty                                   Fear of Futuro Injury and/or Medical Monitorlng
     tr1     Eamin;s/Profit Loss                                                                 Loss of Subsistence use of Natural Resources
     tr      Person;l Injury/Dealh                                                               Removal and/or clean-up costrs
                                                                                       E         Othen




1 Thls form should be filed with the U,S, Dlstrict Court for the Eaatern
                                                                          Olstrict of Louisiana in New Orleans, Louisiana in Ctvil Action No. 1O-8g88. While this Direct
FilhB short Form is to be filed in CA No, 10-8888, by prior order of the coun, (Rec. Doc. 245, c.A. No. 1G2771 and Rec. Doc. 982 in MDL 21791, the fi ng of this form
in C.A. No. 10-8888 shall be deemed to be slmultaneously filed in C.A, 1G2777andMDL2f79. Plaintiff Liaison Counsel, after being notified electronically by the Clerk
ofcourt otthe filing ofthis Short Form, lhallpaompdy serve this foam through the Lexis Nexl5 sedice system on Defense liaison.


           The f,tlng ol thls Dlrect F,llng Shora Fon shalt atso seMa ln tleu of lhe requiremqtt ol a Ptaln|{lfi b nte a Ptatnhfr prof,lo Form.
       Case 2:10-cv-08888-CJB-JCW Document 66485 Filed 04/20/11 Page 2 of 3




Brlef Descrlption:
'l. For €amings/profil loss, property damage                                   s, describe the nature of              claims
    involving rial estate/property, include ths                                (residential/commercial).              hysical
    damagioccurred. FoI claims relating to li                                  and location of fishing 9r

                                                                                                            shrlnplne

  acrlvlties.        I have sus Eai.ned loss of ea rn inqs / D ro f i t s .               vessel

  in the Vessels of               r tuni Ey   prograIIl and sustained danaqes chereto in addltion

  to substantlal 1os s of monies due and owing under the Vessels of OPPorEuniEy
  conEract slgned with BP.               My primary shrlnping area is               in the Gulf of Mexico
  off of the Louislana coasc.



2. For personal injury claims, describe the injury, how and when it was sustained, and idantify all hoalth caro providers and
    empioysrs 2OOE to presant and complsto authorization torms for each-
  I was In contact with toxic levels of o11 fron the spill in questlon' as well
  as dispersant Ehat has caused severe personal injuries.




3. For post-€xplosion claims relatsd to clean-up or r6moval, include your role in th€ clean-up activilles. the namo of your
    employer, and where you were working.

  Myboat/boatsworkedasavesselofopportunityunder."ig'"d-@
   for clean up. I have not been Paid for all of oy contracEually agreed uPon
   compensatlon for my boat as weLl as danages suslained to ny boaE as a result
   of thls operatlon.




                                                              2


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       Case 2:10-cv-08888-CJB-JCW Document 66485 Filed 04/20/11 Page 3 of 3



  Plearc check the bor(ar) below that you thlnk apply to you and your clalma:


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            9:Tfja]1     llshrlman. shrimP€., crlbb€r, or oyalsrmen, or lh6 ownef and oparetor ot 6 business invotvlng fishtng, shrtmping,
                     or oystorinO.

      E Z. sealDod proc€33or, dlgtributof, r€tail and so6fgod markot, or .egliaurant ownor and operatg., of an €mptgye€ th6roof.
      E S. Rec|€atlonal buslnols ownor, oporalor or workar, includlng a recreational fuhing businoss. commercial gukl€ soMcr, or chaner
                ishing busin$s wio eem th8lr living through lha uso ot tho cult ot Maxico.

      D l.      Comm€rEial buslncs!, busingss own6r, operator or worker. including commradd divers. oflshgro oilfi€ld sorvica, ropalt and
                supply. roal ostat€ agentrs, and supply companiot. or an e tptoye€ th6rgot.

      E 5.      R6crosdon6l sport llthomon. rocroalonal divor, b€achgogr, or rocroational boat€r.

      El 6.     Plant and dock workrr, lncluding commo.ciel so€food plant u/ork€., tongshor€man, ot f€.ry opsrato..

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     D 8.       Hotrl own6r 8nd opalslor, Yaca0on rcntal ownrr and agcnt. or all thoso t|ho €am thelr llvlng from tia toudlm Industry.

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     D t 1. Othor

     E t.      Boat captrln o. craw Involv€d In the VEssqts ol Opportuntty p.pgram.

     g 2.      Wortc, involved In da€oniEminating v6slatt thsl cam€ Into contact with <il 6nd/or chqmlcst dtspoBanb.

      E] 3.    Vos!€l captsh ot cratv who w.s not involvrd in th6 Vess€b ol Oppo.lunity prcgram but who trr.s expolod to h€,mtut cfiGmtc€b,
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                                                in closa proxlmliy to coastal watgE.

     86.       Othe|:



Eoth BP and tho Gulf Coast Clairns Facility ("GCCF') are hereby authorized to reteaso to the Dsf€ndants In MDL
2179 all information and doclments submitted by abovo-named Plaintifr and informatlon regarding th€ status of any
paymsnt on lho claim, subjecl to such information being treated as 'Confidential Access Restricted' under the Ordei
                          (Pre'Trial Ord6r No. 11), and subject to full copies of same b€ing mede available to both
             o. his       y it agnlicable) tiling this torm and PSC through Ptaintiff Liaison Counset.




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